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MARCEL SIELER

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

MARCEL SIELER, an individual,
Plaintiff,
v.

ATIEVA USA, INC. d/b/a LUCID
MOTORS USA, INC., a California
corporation; and DOES 1-20, inclusive,

Defendants.

 

 

 

 

Case NO.

COMPLAINT FOR DAMAGES

1. F ailure To Pay Overtime Wages
2. Failure To Provide Meal Periods
3. Failure To Provide Rest Periods

4. Failure To Pay All Wages Upon

Termination Of Employment

5. Failure To Furnish Accul‘ate Itemized
Wage Statements

6. Failure To Maintain Accurate Payroll
Records

7. F ailure To Pay All Wages In A Timely
Manner

8. Violation Of Business &Pl'ofessions
Code § 17200 et seq.

9. Violation of Labor Code § 2698 et seq.

10. Conversion

11. Declaratory Relief

12. False Representations To Induce
Relocation

13. Intentional Misrepresentation

14. Negligent Misrepresentation

JURY TRIAL DEMANDED

 

COMPLAINT FOR DAMAGES ~ JURY TRIAL DEMANDED

 

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Plaintiff MARCEL SIELER (“Plaintiff’), individually, and in his representative capacity,
alleges the following:

INTRODUCTION

l. This wage and hour misclassiflcation lawsuit is brought by Plaintiff who was
employed by Defendants ATIEVA USA, INC. d/b/a LUCID MOTORS USA, INC. and DOES l-
20 (collectively, “Defendants”) during the four (4) years preceding the filing of this lawsuit.
Plaintiff was denied the benefits and protections provided for under the Labor Code and other
statutes and regulations applicable to non-exempt employees in the State of California.

2. Plaintiff alleges Defendants had and continue to have a consistent policy and/or
practice of: (i) misclassifying its Technical Specialists and Senior Technical Specialists as exempt
employees instead of non~exempt employees; (ii) permitting, encouraging, and/or requiring
Plaintiff and other aggrieved current and fonner employees to work in excess of eight (8) hours
per day and/or forty (40) hours per week without paying them oveitime wages as required by
Califomia law; (iii) failing to provide Plaintiff and other aggrieved current and former employees
proper meal periods as required by Califomia law; (iv) failing to provide Plaintiff and other
aggrieved current and former employees proper rest periods as required by Califomia law; (v)
failing to pay Plaintiff and other aggrieved current and former employees all of their wages upon
the teimination of their employment with Defendants as required by Califomia law; (vi)
knowingly and intentionally failing to furnish Plaintiff and other aggrieved current and former
employees with accurate itemized wage statements required by Califomia law; (vii) unlawfully
failing to maintain accurate payroll records as required by Califomia law; (viii) failing to pay
Plaintiff and other aggrieved current and former employees all wages owed in a timely manner as
required by Califomia law; (ix) conveiting Plaintiff’ s and other aggrieved current and former
employees’ earned wages for Defendants’ benefit and use; (x) violating Califomia Business &
Professions Code § 17200 et seq.; and (xi) violating Califomia Labor Code § 2698 er seq.

JURISDICTION AND VENUE
3. This Court has jurisdiction over Plaintiff’s claims under 28 U.S.C. § 1332. Plaintiff

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COMPLAINT FOR DAMAGES - JURY TRIAL DEMANDED

 

 

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is a citizen of Germany and ATIEVA USA, INC. d/b/a LUCID MOTORS USA, INC. is a

corporation incorporated in the State of Delaware with a principle place of business in the State of

Califomia.
4. The amount in controversy exceeds $75,()()(), exclusive of interest and costs.
5. Venue is proper in the United States District Court, Northern District of Califomia

pursuant to 28 U.S.C. § 1391 because Defendants reside in this District and a substantial part of
the events and omissions giving rise to Plaintiff' s claims occurred in this District.
PARTIES

6. Plaintiff is an adult resident of Geiinany. Plaintiff is a “person” within the meaning
of Business & Professions Code § l72()l and Labor Code § l8.

7. Defendant ATIEVA USA, INC. d/b/a LUCID l\/IOTORS USA, INC. (“ATIEVA”)
is a Silicon Valley company that designs, develops, and builds electric vehicles. Upon
information and belief, ATIEVA is a Califomia corporation headquartered in Meiilo Park,
Califomia. Upon information and belief, ATIEVA is, and at all times relevant hereto has been,
authorized to, and does, conduct business in the State of California. ATIEVA is a “person” within
the meaning of Califomia Business & Professioiis Code § 17201 and Califomia Labor Code § 18.

8. The true names and capacities of DOES l-2(), inclusive, whether individual,
corporate, associate, or otherwise, are unknown to Plaintiff, who therefore sues such defendants by
fictitious names pursuant to Califomia Code of Civil Procedure § 474. Plaintiff will amend this
complaint to show the true names, capacities, and involvement of DOES 1~2(), inclusive, once
they are ascertained Plaintiff is informed, believes, and thereon alleges that each of the
defendants designated as a DOE is responsible in some manner for the events, happenings, and
omissions described herein, and that Plaintiff’s injuries and damages were proximately caused by
said defendants Plaintiff is informed, believes, and thereon alleges that at all times herein
mentioned, each of the DOES l-2(), inclusive, was an agent, partner, affiliate, joint employer, joint
venturei‘, owner, co-owner, employee, successor, predecessor, parent, and/or subsidiaiy of each of

the remaining defendants, and each of them, was at all times acting within the purpose and scope

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COMPLAINT FOR DAMAGES - JURY TRIAL DEMANDED

 

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of the applicable relationship

9. There exists, and at all times herein mentioned there existed, a unity of interest and
ownership, and control between ATIEVA and DOES 1-20 such that: (i) any individuality and
separateness between ATIEVA and DOES 1-20 has ceased; (ii) ATIEVA and DOES 1-20 are
alter egos of each other; (iii) the liability-limiting privileges under the law for ATIEVA and
DOES 1-20 should be equitably disregarded; and (iv) the assets of DOES 1-20 should equitably be
made available to satisfy the liability of ATIEVA arising from any monetary judgment to be
entered upon the causes of action in this action.

PAGA REPRESENTATIVE ACTION ALLEGATIONS

10. On February 17, 2017, Plaintiff submitted online a written notice of Defendants’
violations of various provisions of the California Labor Code to the Califomia Labor and
Workforce Developinent Agency (“LWDA”). Plaintiff served a copy of this written notice to
Defendants by certified mail.

11. The LWDA did not provide notice of its intention to investigate Defendants’
alleged violations within sixty-five (65) calendar days of the Februaiy 17, 2017, the postmark date
of Plaintiff's written notice. See Cal. Lab. Code § 2699.3(a)(2)(A).

12. Plaintiff is informed and believes and thereon alleges that Defendants uniformly
inisclassified all of its Technical Specialists and Senior Teclinical Specialists, including liiin, as
exempt employees when they were and are, in fact, non-exempt employees

13. As explained in more detail below, Plaintiff and other aggrieved current and former
employees did not and do not qualify for the Professional Exeniption under Industrial Welfare
Commission (“IWC”) Wage Ordei' No. 4. Plaintiff and other aggrieved current and former
employees did not and do not perform work requiring “advanced knowledge” that was
“customarily acquired by a prolonged course of specialized intellectual instruction.” See 29
C.F.R. § 541 .301(a). Additionally, the duties and responsibilities assigned and performed by
Plaintiff and other aggrieved current and former employees did not and do not involve the regular

exercise of discretion and independent judgment on matters of significance to Defendants

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COMPLAINT FOR DAMAGES - JURY TRIAL DEMANDED

 

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14. Plaintiff and other aggrieved current and former employees, therefore, were and are
non-exempt and entitled to all of the benefits and protections provided for under the Califomia
Labor Code and other statutes and regulations applicable to non-exempt employees in the State of
California.

15. Due to Defendants’ misclassification of Plaintiff and the other aggrieved current
and former employees, Defendants failed to provide overtime wages, proper meal and rest periods,
and accurate itemized wage statements Defendants also failed to maintain accurate payroll
records showing Plaintiff' s and the other aggrieved cuirent and former employees’ hours worked
and wages paid.

16. Plaintiff alleges Defendants violated the Private Attorneys General Act (“PAGA”),
Califomia Labor Code § 2698 el Seq., in the following ways: (i) permitting, encouraging, and/or
requiring Plaintiff and other aggrieved current and former employees to work in excess of eight
hours per day and/or forty (40) hours per week without paying them overtime wages in violation
of IWC Wage Order No. 4 and Califomia Labor Code §§ 510, 558, 1194, and 1198; (ii) failing to
provide Plaintiff and other aggrieved current and former employees proper meal periods in
violation of IWC Wage Order No. 4 and Califomia Labor Code §§ 226.7, 512, and 558; (iii)
failing to provide Plaintiff and other aggrieved current and former employees proper rest periods
in violation of IWC Wage Order No. 4 and Califomia Labor Code §§ 226.7, 512, and 558; (iv)
knowingly and intentionally failing to furnish Plaintiff and other aggrieved current and former
employees with accurate itemized wage statements in violation of Califomia Labor Code § 226(a);
(v) unlawmlly failing to maintain accurate payroll records in violation of Califomia Labor Code
§§ 1174 and 1 174.5; (vi) failing to pay Plaintiff and other aggrieved current and former employees
all of their wages owed in a timely manner in violation of Califomia Labor Code §§ 204 and 210;
(vii) failing to pay Plaintiff and other aggrieved current and former employees all of their wages
upon termination in violation of Califomia Labor Code §§ 203, 512, and 558; and (viii) knowingly
issuing false representations about the kind, chai'acter, or existence of work available for Plaintiff

in violation of Califomia Labor Code § 970.

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COMPLAINT FOR DAMAGES - JURY lRlAL DEMANDED

 

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FACTUAL ALLEGATlONS

17. Plaintiff worked for Defendants as a Senior Technical Specialist, Lighting Pre-
Development, from January 4, 2016 to January 24, 2017. Defendants’ terminated Plaintiff’s
employment on January 24, 2017.

18. Plaintiff was recruited to work for Defendants due to his expertise in headlight
optics and automotive lighting. This expeitise was the result of approximately seven-and-a-half
years of on-the-job experience. Since graduating from a German university in 2009 with a physics
degree, Plaintiff worked for Fi‘aunhofer liistitute for Applied Optics and Precision Engineering
lOF and BMW Group. Plaintiff does not have a doctorate degi'ee.

19. ln order to persuade Plaintiff to work for Defendants, management represented to
him that Defendants would, among other thiiigs: 1) initiate a green card petition for his wife in
early January 2016; 2) increase his $200,000 salaiy if he performed well; 3) provide him with
additional shares if he performed well; 4) promote him if he performed well; 5) allow him to lead
the Lighting Development Group by giving him significant budgetaiy and technical authority; 6)
invest millions of dollars into building an in-house lab to give him the ability to conduct
technology development reseai'ch; and 7) give him an exercise price between 97 cents and 31.25
for his shares. These representations were false.

20. ln reliance on these representations, Plaintiff agreed to leave his secure and
successful job with BMW Group in Germany, where he had significant budgetary and technical
authority, and come to the Bay Area to work for Defendants. At the time of his re-location,
Plaintiff’s daughter was about 11 months old. Plaintiff sold all of his personal belongings at a loss
to come work and raise his family in the Bay Area. Indeed, Plaintiff was granted an Ol visa for
three years, from Januaiy 2016 to Deceinber 2018, to facilitate this transition. Upon his arrival in
the Bay Area, Plaintiff entered into a car lease for 36 months after putting down a non-reiiindable
$5,000 deposit and purchased another car with a six-year loan after putting down a non-refundable
$5,000 deposit. Plaintiff also entered into a two-year rental agreement for a home in Menlo Park

after viewing over 25 homes. Needless to say, Plaintiff was not planning to return to Germany

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COMPLAINT FOR DAMAGES - JURY lRlAL DEMANDED

 

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any time soon.

21. Shortly after he arrived for work, however, Defendants instructed Plaintiff to report
to Lighting Manager, Ralf Meyer-Wendt, who in turn reported to Senior Director of Body
Engineering, Eric Bach. Plaintiff was not given the opportunity to lead the Lighting Developinent
Group as he was originally promised. Nor was Plaintiff given budgetaiy or technical authority.
Mr. Meyer-Wendt handled all technical and budgetary decisions. Plaintiff had no authority over
design or engineering decisions, budgetary decisions, or decisions regarding the timing of projects
Additionally, Plaintiff had no supervisory authority over the contractors or coworkers he worked
with. ln sum, Plaintiff did not exercise discretion or independent judgment on matters of
significance to Defendants See 29 C.F.R. § 540.207(d)(2) (explaining that the term “discretion
and independent judgment” applies to “the kinds of decisions normally made by persons who
formulate or participate in the formulation of policy within their spheres of responsibility or who
exercise authority within a wide range to commit their employer in subslantial respects financially
011 0therwl`se”) (emphasis added). At no point did Plaintiff make decisions that impacted
Defendants’ policies or committed Defendants financially in a substamial way.

22. As a Senior Technical Specialist, Plaintiff was responsible for serving as the “go-
between” between Defendants’ design team and its engineering team. ln this capacity, Plaintiff
was responsible for receiving and reviewing headlight and taillight designs from the design team
and working with the engineering team to assess what designs were technically feasible and what
were not. The overwhelming majority of Plaintiffs time was spent running computer simulations
with “Rhinoceros 3D,” a 3D computer graphics and computer-aided design application software,
to perfoim feasibility studies, and ZEMAX OpticStudio, an optics simulation software, to simulate
lighting patterns. After running these feasibility studies with the engineering team’s input,
Plaintiff was responsible for communicating their results to the design team. On occasion, when
certain designs were deemed technically infeasible, Plaintiff would work with the engineering
team to provide alternative technical solutions, if they were available. Any such alternative

technical solutions were filtered by Mr. Meyer-Wendt before being decided upon by Mr. Bach and

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COMPLAINT FOR DAMAGES ~ JURY TRIAL DEMANDED

 

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members of the design team’s management

23. This time intensive, back-and-forth process was driven by Mr. Meyer-Wendt and
Mr. Bach’s decisions regarding headlight and taillight designs and budgets. Plaintiff had no
decision-making authority in this pi“ocess. At no point was he “evaluat[ing] [] possible courses of
conduct and acting or making a decision after the various possibilities have been considered” on
matters of significance See 29 C.F.R. § 541.207(a); see also 29 C.F.R. § 541.207(g) (the
“custoniai‘ily and i'egularly” requirement “is not met by the occasional exercise of discretion and
independent judgment”). Plaintiff’s primary responsibility was to assess, with the help of
engineering conti'actors, whether the demands of the design team could be met from a technical
perspective using his knowledge of optics, lighting, and vehicle regulations, and his software and
engineering skills, and to relay that information to the design team.

24. Given his educational and professional background, and the nature of his duties as
a Senior Techiiical Specialist, Plaintiff did not qualify for the professional exemption, or any other
exemption for that matter. 29 C.F.R. § 541 .301(a) requires that “[t]o qualify for the learned
professional exemption, an employee's priinaiy duty must be the performance of work requiring
advanced knowledge in a field of science or learning customarily acquired by a prolonged course
of specialized intellectual instruction. This primary duty test includes three elements: (1) [t]he
employee must perform work requiring advanced knowledge; (2) [t]he advanced knowledge must
be in a field of science or leaming; and (3) [t]he advanced knowledge must be customarily
acquired by a prolonged course of specialized intellectual instruction.”

25. Plaintiff does not meet the third prong of this i'egulation. The “advanced
knowledge” Plaintiff relied upon to perform his work at Defendants was not “customarily acquired
by a prolonged course of specialized intellectual instruction,” but by his job experiences with
Fraunhofer Institute for Applied Optics and Pi'ecision Engineering IOF and BMW Group.
Plaintiff s physics degree was neither a “pi'olonged course of specialized intellectual instruction”
within the meaning of the regulation nor the source of his “advanced knowledge” in headlight

optics and automotive lighting. lndeed, a review of Plaintiff s university record demonstrates that

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COMPLAINT FOR DAMAGES - JURY TRlAL DEMANDED

 

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his physics degree was earned after having taken courses spanning a broad and general spectrum.
His coui‘sework was not focused on optics or lighting. Wliere employees acquire their skills by
experience rather than specialized intellectual instruction, the professional exemption does not
apply. See 29 C.F.R. § 541.301(d) (“[t]he learned professional exemption also does not apply to
occupations in which most employees have acquired their skill by experience rather than by
advanced specialized intellectual instruction”). That is the case here.

26. For this i‘eason, the professional exemption does not apply to Plaintiff

27. The professional exemption does not apply to Plaintiff for another reason: his
duties and responsibilities were primarily of a non-exempt nature. Plaintiff did not customarily or
regularly exercise discretion and independent judgment on matters of significance to Defendants
Plaintiff spent the overwhelming majority of his day-to-day time applying his technical knowledge
and skills to various techniques, procedures, and/or standards to deteimine the feasibility of
various design demands. See 29 C.F.R. § 541 .207(c)(1) (“Perhaps the most frequent cause of
misapplication of the term ‘discretion and independent judgment’ is the failure to distinguish it
from the use of skill in various respects. An employee who merely applies his knowledge in
following prescribed procedures or determining which procedure tofollow, or who determines
whether specified standards are met or whether an object falls into one or another of a number of
definite grades, classes, or other cat'egories, with or without the use of testing or measuring
devices, is not exercising discretion and independent judgment within the meaning of Sec. 541.2.
This is true even if there is some leeway in reaching a conclusion, as when an acceptable standard
includes a range or a tolerance above or below a specific standard.”) (emphasis added).

28. Under these circumstances, Plaiiitiffs duties and responsibilities do not satisfy the
“job duties” test of the professional exemption

29. Throughout his employment, Defendants failed to compensate Plaintiff for all of
the overtime hours he worked notwithstanding his status as a non-exempt employee. Plaintiff
regularly worked more than eight (8) hours in a workday or more than forty (40) hours in a

workweek. On a number of occasions, Plaintiff worked over twelve (12) hours in a day. Plaintiff

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COMPLAINT FOR DAMAGES - JURY 'l`RlAL DEMANDED

 

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estimates he worked over 900 hours of oveitime (including double time). By way of example,
Plaintiff worked over 40 hours straight in December 2016 to meet an important deadline.

30. Further, Defendants failed to provide Plaintiff with meal and rest periods in
accordance with Califomia law. Because Defendants classified Plaintiff as exempt, it had no
policy ensuring that Plaintiff received proper and timely meal and rest periods. lndeed, there were
many morning meetings that Plaintiff was required to participate in that ran well over five hours
without a proper meal pei'iod. Defendants regularly pressured, encouraged, incentivized, and/or
required Plaintiff to perform his duties in ways that shortened and/or eliminated his legally-
mandated meal and rest periods. See Brinker Rest. Corp. v. Super. Ct., 53 Cal. 4th 1004, 1040
(2012); Augustus v. ABMSecurity Services, Inc. (Cal. Sup. Ct. 12/22/2016), Case No. 8224853
(holding that “state law prohibits on-duty and on-call rest periods”).

31. F or the foregoing reasons, the itemized wage statements that Defendants provided
to Plaintiff every pay period were inaccurate. Defendants failed to keep accurate payroll records
showing the hours worked daily by Plaintiff and the wages that he should have been paid.

32. Defendants failed to pay Plaintiff all of his wages owed in a timely manner at all
relevant times.

33. Defendants also failed to pay Plaintiff all of the wages owed him upon the
termination of his employment.

34. Finally, due to Defendants’ misrepresentations, which Plaintiff relied upon to re-
locate to the Bay Area from Germany, Plaintiff suffered significant damages to be proven at trial.

35. Given these unlawful practices, Plaintiff asserts the following causes of action:

CAUSES OF ACTION

FIRST CAUSE OF ACTION
F ailure To Pay Overtime Wages
Cal. Labor Code §§ 510, 1194 and 1198,
and Wage Order No. 4

36. Plaintiff re-alleges and incorporates by reference the allegations contained in the

paragraphs above as if fully set foith herein.

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COMPLAINT FOR DAMAGES - JURY TRIAL DEMANDED

 

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37. During all relevant times, Plaintiff regularly worked in excess of eight (8) hours in
a day and/or forty (40) hours in a week.

38. Califomia Labor Code § 510 and the applicable lWC Wage Order require an
employer to compensate an employee at one-and-one-half times the employee’s regular rate of pay
for all work performed by an employee in excess of eight (8) hours up to and including twelve
(12) hours in any workday, for the first eight (8) hours worked on the seventh (7th) consecutive
day of work in a workweek, and for any work in excess of foity (40) hours in any one workweek.

39. Additionally, Califomia Labor Code § 510 and the applicable lWC Wage Order
require an employer to compensate an employee double his or her regular rate of pay for all hours
worked in excess of twelve (12) hours in any workday and for all hours worked in excess of eight
(8) hours on the seventh (7th) consecutive day of work in a workweek.

40. Califomia Labor Code § 1194 states that any employee receiving less than the legal
overtime wages applicable to the employee is entitled to recover in a civil action the unpaid
balance of the full amount of his wages, including interest thereon, costs and reasonable attorneys’
fees.

41. During all relevant times, Defendants knowingly and willfully failed to pay any
overtime wages earned and due to Plaintiff. Defendants’ conduct deprived Plaintiff of full and
timely payment for all of the overtime hours he worked in violation of the Califomia Labor Code.

42. j Due to Defendants’ knowing, willful and unlawful failure to pay Plaintiff all of his
earned overtime wages, Plaintiff is entitled to recover his unpaid overtime wages, interest thereon,
and the costs and attomeys’ fees he incurred to enforce his rights under Califomia Labor Code §

1194, and the relief requested below in the Prayer for Relief.

SECOND CAUSE OF ACTION
Failure To Provide Meal Periods
Cal. Labor Code §§ 226.7 and 512, and Wage Order No. 4

43. Plaintiff re-alleges and incorporates by reference the allegations contained in the
paragraphs above as if fully set foith herein.

44. The applicable lWC Wage Order states in pertinent part, “No employer shall

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COMPLAINT FOR DAMAGES ~ JURY TRIAL DEMANDED

 

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employ any person for a work period of more than give (5) hours without a meal period of not less
than 30 minutes. . . . lf an employer fails to provide an employee a meal period in accordance
with the applicable provision of this order, the employer shall pay the employee one (1) hour of
pay at the employee’s regular rate of compensation for each workday that the meal period is not
provided.”

45. Califomia Labor Code § 226.7(a) explains that “no employer shall require any
employee to work during any meal or rest period mandated by an applicable order of the lndustrial
Welfare Commission.”

46. Califomia Labor Code § 512(a) states in pertinent part: “[A]n employer may not
employ an employee for a work period of more than five hours per day without providing the
employee with a meal period of not less than 30 minutes. An employer may not employ an
employee for a work period of more than 10 hours per day without providing the employee with a
second meal period of not less than 30 minutes . . . .”

47. Defendants failed to provide Plaintiff with meal periods in accordance with
Califomia law. Defendants regularly pressured, encouraged, and/or incentivized Plaintiff to
perform his duties in ways that shortened and/or eliminated his legally-mandated meal periods.
See Brinker Rest. Corp. v. Super, Ct., 53 Cal. 4th 1004, 1040 (2012).

48. Due to Defendants’ willful and unlawful failure to provide Plaintiff proper meal
periods, Plaintiff is entitled to recover one (1) hour of pay at his regular rate of compensation for

each workday that a meal period was not provided, and the relief requested below in the Prayer for

Relief.

THIRD CAUSE OF ACTION
Failure To Provide Rest Periods
Cal. Labor Code § 226.7 and Wage Order No. 4

49. Plaintiff re-alleges and incorporates by reference the allegations contained in the
paragraphs above as if fully set foith herein.
50. The applicable lWC Wage Order states in pertinent part, “Every employer shall

authorize and permit all employees to take rest periods, which insofar as practicable shall be in the

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COMPLAINT FOR DAMAGES - JURY TRIAL DEMANDED

 

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middle of each work period. The authorized rest period time shall be based on the total hours
worked daily at the rate of ten (10) minutes net rest time per four (4) hours or major fraction
thereof . . . If any employer fails to provide an employee a rest period in accordance with the
applicable provisions of this order, the employer shall pay the employee one (1) hour of pay at the
employee’s regular rate of compensation for each workday that the rest period is not provided.”

51. Califomia Labor Code § 226.7(a) states that “no employer shall require any
employee to work during any meal or rest period mandated by an applicable order of the Industrial
Welfare Commission.”

52. Plaintiff was never provided any rest periods, much less told he was entitled to
them, as he was at all times improperly classified by Defendants as an exempt employee. See
Auguslus v. ABMSecurity Services, Ine. (Cal. Sup. Ct. 12/22/2016), Case No. 8224853 (holding
that “state law prohibits on-duty and on-call rest periods”).

53. Due to Defendants’ willful and unlawful failure to provide Plaintiff proper rest
periods, Plaintiff is entitled to recover one (1) hour of pay at his regular rate of compensation for
each workday that a rest period was not provided, and the relief requested below in the Prayer for

Relief.

FOURTH CAUSE OF ACTION
Failure To Pay All Wages Upon Termination Of Employment
Cal. Labor Code §§ 201 and 203

54. Plaintiff re-alleges and incorporates by reference the allegations contained in the
paragraphs above as if fully set forth herein.

55. Califomia Labor Code § 201 provides that when “an employer discharges an
employee, the wages earned and unpaid at the time of discharge are due and payable
immediately.”

56. Where an employer willfully fails to pay a terminated employee all wages due as
required under the Califomia Labor Code, the employer is liable to such employee under Labor

Code § 203 for waiting time penalties in the amount of one (1) day’s compensation at the

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COMPLAINT FOR DAMAGES ~ JURY TRIAL DEMANDED

 

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employee’s regular rate of pay for each day the wages are withheld, up to thirty (30) days.

57. Due to Defendants’ knowing, willful and unlawful failure to provide Plaintiff with
all of the wages he was owed as alleged herein at the time of his termination in violation of
Califomia Labor Code § 201, Plaintiff is entitled to waiting time penalties under Califomia Labor
Code § 203, and the relief requested below in the Prayer for Relief.

FIFTH CAUSE OF ACTION
Failure To Furnish Accurate Itemized Wage Statements
Cal. Labor Code § 226 and Wage Order No. 4

5 8. Plaintiff re-alleges and incorporates by reference the allegations contained in the
paragraphs above as if fully set forth herein.

59. Califomia Labor Code § 226 provides, in relevant pait, that an employer must
furnish each employee with an itemized wage statement showing the total number of hours
worked each pay period, gross wages, net wages, all deductions, all applicable hourly rates of pay,
and other information

60. During all relevant times, Defendants willfully failed to furnish to Plaintiff, upon
each payment of compensation, itemized wage statements accurately showing, at a minimum: the
total hours worked, gross wages, net wages, applicable hourly wages and the corresponding hours
worked at each hourly rate.

61. During all relevant times, Plaintiff was damaged by these failures because, among
other things, he was led to believe that he was not entitled to be paid overtime wages, even though
he was so entitled, and because the failures hindered him from determining the proper amounts of
overtime wages owed to him.

62. California Labor Code § 226(e) provides that an employee suffering injury as a
result of not being provided with an accurate itemized wage statement is entitled to recover the
greater of all actual damages suffered or fifty ($50) dollars for the initial violation and one-
hundred ($100) dollars for each subsequent violation.

63. Due to Defendants’ failure to provide accurate itemized wage statements, Plaintiff

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COMPLAINT FOR DAl\/LAGES ~ JURY TRlAL DEMANDED

 

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is entitled to the amounts provided for in Califomia Labor Code § 226(e), plus costs and

reasonable attorneys’ fees, and the relief requested below in the Prayer for Relief.

SIXTH CAUSE OF ACTION
Failure To Maintain Accurate Payroll Records
Cal. Labor Code § 1174 and Wage Order No. 4

64. Plaintiffre-alleges and incorporates by reference the allegations contained in the
paragraphs above as if fully set forth herein.

65 . During all relevant times, Defendants violated Califomia Labor Code § 1174 by
willfully failing to maintain payroll records accurately showing the hours worked daily by Plaintiff
and the wages paid thereto.

66. Plaintiff requests the Court to award judgment and relief in his favor including,

without limitation, the relief requested below in the Prayer for Relief.

SEVENTH CAUSE OF ACTION
Failure To Pay All Wages ln A Timely Manner
Cal. Labor Code § 204 and Wage Order No. 4

67. Plaintiff re-alleges and incoiporates by reference the allegations contained in the
paragraphs above as if fully set forth herein.

68. Califomia Labor Code § 204 requires employers to pay all wages twice during each
calendar month, on days designated in advance by the employer as the regular paydays.

69. During all relevant times, Defendants failed to pay Plaintiff for all of the hours he
worked no later than the payday for the following pay period.

70. Defendants’ conduct deprived Plaintiff of full and timely payment for all of the
hours he worked in violation of the California Labor Code.

71. Due to Defendants’ willful and unlawful failure to pay Plaintiff his earned wages,
Plaintiff is entitled to recover his unpaid wages, and the relief requested below in the Prayer for

Relief.

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EIGHTH CAUSE OF ACTION
Unfair Competition Law Violations
Cal. Business & Professions Code § 17200 et seq.

72. Plaintiff i'e-alleges and incorporates by reference the allegations contained in the
paragraphs above as if fully set foith herein.

73. California Business & Professions Code § 17200 et seq. prohibits unfair
competition in the form of any unlawful, unfair, deceptive, or fraudulent business practices

74. During all relevant times, Defendants committed unlawful, unfair, deceptive,
and/or fraudulent acts as defined by Califomia Business & Professions Code § 17200.
Defendants’ unlawful, unfair, deceptive, and/or fraudulent business practices include, without
limitation, failing to pay overtime wages and failing to pay all of Plaintiff s wages upon the
termination of his employment as required by the Califomia Labor Code and the applicable lWC
Wage Order, and converting Plaintiff's wages for Defendants’ benefit and use.

75. As a result of this unlawful and/or unfair and/or fraudulent business practice,
Defendants reaped unfair benefits and illegal profits at Plaintiff s expense. Defendants must
disgorge these ill-gotten gains and restore to Plaintiff all wrongfully withheld wages including, but
not limited to, oveitime wages

76. Plaintiff respectfully requests that judgment be awarded in his favor to provide
restitution, and the relief requested below in the Prayer for Relief.

NINTH CAUSE OF ACTION
Violation Of The Private Attorneys General Act (“PAGA”)
Cal. Labor Code § 2698 et seq.

77. Plaintiff re-alleges and incoiporates by reference the allegations contained in the
paragraphs above as if fully set forth herein.

78. Plaintiff is an “aggrieved employee” under the Private Attorneys General Act
(“PAGA”) as he was employed by Defendants during the applicable statutory period and suffered

one or more of the Califomia Labor Code violations alleged herein. As such, he seeks to recover,

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on behalf of himself and all other aggrieved current and fomrer employees, the civil penalties
provided by PAGA, plus costs and reasonable attorneys’ fees

79. Plaintiff seeks to recover civil penalties through a representative action as permitted
by PAGA and the Califomia Supreme Court in Arias v. Superior Court, 46 Cal. 4th 969 (2009).

80. Plaintiff seeks to pursue remedies pursuant to PAGA for the following violations:

81. Califomia Labor Code § 210 imposes a civil penalty in the amount of 81 00 per
employee per initial violation of the timely payment requirements of Labor Code § 204 and $200
per employee for each subsequent violation, pg 25% of the amount unlawfully withheld.

82. Califomia Labor Code § 226.3 imposes a civil penalty in addition to any other
penalty provided by law of two hundred fifty dollars ($250) per aggrieved employee for the first
violation, and one thousand dollars (81,000) per aggrieved employee for each subsequent violation
of Califomia Labor Code § 226(a).

83. Pursuant to Califomia Labor Code § 203, for an employer who willfully fails to pay
any wages of air employee who is discharged or quits, that employee’s wages shall continue as a
penalty from the due date at the same rate until paid, but shall not continue for more than thirty
(3 0) days Califomia Labor Code § 256 imposes a civil penalty in an amount not exceeding thirty
(30) days pay as waiting time under the terms of Califomia Labor Code § 203.

84. Califomia Labor Code § 558(a) provides as follows:

Any employer or other person acting on behalf of an employer who violates, or
causes to be violated, a section of this chapter or any provision regulating hours and
days of work in any order of the lirdustrial Welfare Commission shall be subject to
a civil penalty as follows: (l) F or any initial violation, fifty dollars (850) for each
underpaid employee for each pay period for which the employee was underpaid i_n_
addition to an amount sufficient to recover underpaid wages (2) For each
subsequent violation, one hundred dollars (8100) for each underpaid employee for
each pay period for which the employee was underpaid in addition to an amount

sufficient to recover underpaid wages (3) Wages recovered pursuant to this
section shall be paid to the affected employee.

Califomia Labor Code § 55 8(d) states that the civil penalties provided for in

subsection (a) are “in addition to any other civil or criminal penalty provided by law,”

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COMPLAINT FOR DAMAGES ~ JURY TRIAL DEMANDED

 

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85 . Under Califomia Labor Code § 1174.5, Defendants are subject to a civil penalty of
five hundred dollars ($500) for failing to keep records as required by section 1174(d).

86. Califomia Labor Code § 2698 et seq. imposes a civil penalty of one hundred dollars
($100) per pay period, per aggrieved employee for the initial violation of Califomia Labor Code
§§ 204, 226, 226.7, 510, 512, 970, 1174, 1194, 1198 and two hundred dollars ($200) for each
aggrieved employee per pay period for each subsequent violation.

87. Plaintiff has firlly complied with the procedural requirements specified in
Califomia Labor Code § 2699.3 as to each of the alleged violations Oii February 17, 2017,
Plaintiff submitted online a written notice of Defendants’ violations of various provisions of the
Califomia Labor Code to the Califomia Labor and Workforce Developinent Agency (“LWDA”).
Plaintiff served a copy of this written notice to Defendants by certified mail.

88. The LWDA did not provide notice of its intention to investigate Defendants’
alleged violations within sixty-five (65) calendar days of the February 17, 2017, the postmark date
of Plaintiffs written notice. See Cal. Lab. Code § 2699.3(a)(2)(A). Plaintiff therefore is entitled
to pursue his civil penalty claims pursuant to Califomia Labor Code § 2698 et seq.

89. Enforcement of statutory provisions to protect workers and to ensure proper and
prompt payment of wages is a fundamental public interest. Plaintiff' s successful enforcement of
important rights affecting the public interest will confer a significant benefit upon the general
public. Private enforcement of these rights is necessary, as no public agency has pursued
enforcement lt would be against the interests of justice to require the payment of attomeys’ fees
and costs from any recovery obtained, pursuant to, inter alia, Califomia Labor Code § 2699(g)(1).

90. Due to the violations alleged herein, Plaintiff, on behalf of himself and other
aggrieved current and fomier employees seeks all civil penalties available pursuant to Califomia
Labor Code § 2698 et seq. plus costs and reasonable attorneys’ fees, and the relief requested below

in the Prayer for Relief.

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COMPLAINT FOR DAMAGES - JURY TRIAL DEMANDED

 

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TENTH CAUSE OF ACTION
Conversion

 

91. Plaintiff re-alleges and incorporates by reference the allegations contained in the
paragraphs above as if fully set forth herein.

92. During all relevant times, Defendants knowingly and willfully failed to pay
Plaintiff any overtime wages despite working a significant amount of overtime hours By doing
so, Defendants converted Plaintiff s earned wages for their benefit and use.

93. Defendants’ conduct deprived Plaintiff of full and timely payment for all the
overtime hours he worked in violation of the Califomia Labor Code. See Sims v, AT&TMol)ility
Servs. LLC, 955 F. Supp. 2d 1110, l 119-20 (N.D. Cal. 2013) (“there is clear authority under
Califomia law that employees have a vested property interest in the wages that they earn, failure to
pay them is a legal wrong that interferes with the employee's title in the wages, and an action for
conversion can therefore be brought to recover unpaid wages”).

94. ln committing the acts described herein, Defendants are guilty of oppression, fraud
and/or malice as they wrongfully and unlawfully misappropriated Plaintiff's wages to benefit

themselves at Plaintiffs expense. Plaintiff therefore is entitled to punitive damages

ELEVENTH CAUSE OF ACTION
Declaratory Relief`

95. Plaintiff re-alleges and incorporates by reference the allegations contained in the
paragraphs above as if fully set forth hei‘ein.

96. An actual controversy has arisen and now exists between Plaintiff and Defendants
regarding their respective rights and duties Plaintiff contends he was a non-exempt employee of
Defendants at all relevant times Defendants, on the other hand, contend that Plaintiff was an
exempt employee at all relevant times

97. Plaintiff seeks a judicial determination as to whether he was a non-exempt
employee of Defendants at all relevant times A judicial determination of this controversy is

necessary and appropriate. This will determine whether Plaintiff is entitled to all of the benefits

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COMPLAINT FOR DAMAGES ~ JURY TRIAL DEMANDED

 

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and protections provided for under the Califomia Labor Code and the applicable lWC Wage

Order.

TWELFTH CAUSE OF ACTION

False Representations To Induce Relocation
Cal. Labor Code §§ 970 and 972

98. Plaintiff re-alleges and incorporates by reference the allegations contained in the
paragraphs above as if fully set forth herein.

99. Califomia Labor Code § 970 prohibits employers from influencing, persuading, or
engaging any person to change his or her residence from any place outside of Califomia to any
place within Califomia for the purpose of working by means of knowingly false representations
concerning any of the following: (a) the kind, character, or existence of such work; (b) the length
of time such work will last, or the compensation therefor; (c) the sanitary or housing conditions
relating to or surrounding the work; and (d) the existence or nonexistence of any strike, lockout, or
other labor dispute affecting it and pending between the proposed employee and the persons then
or last engaged in the performance of the labor for which the employee is sought.

100. California Labor Code § 972 permits employees to seek double damages for any
violation of Califomia Labor Code § 970 by an employer in a civil action.

101. ln order to persuade Plaintiff to work for Defendants, management represented to
him that Defendants would, among other things: 1) initiate a green card petition for his wife in
early January 2016; 2) increase his 8200,000 salary if he performed well; 3) provide him with
additional shares if he performed well; 4) promote him if he performed well; 5) allow him to lead
the Lighting Development Group by giving him significant budgetary and technical authority; 6)
invest millions of dollars into building an in-house lab to give him the ability to conduct
technology development research; and 7) give him air exercise price between 97 cents and $1.25
for his shares

102. In reliance on these representations Plaintiff agreed to leave his secure and

successful job with BMW Group in Germany to come to the Bay Area to work for Defendants

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COMPLAINT FOR DAMAGES - JURY lRlAL DEMANDED

 

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103. Shoitly after he arrived for work, however, Defendants instructed Plaintiff to report
to Lighting Manager, Ralf Meyer-Wendt. Plaintiff was never given the opportunity to lead the
Lighting Developinent Group as he was originally promised. Nor was Plaintiff given any
budgetary or technical authority. Mr. Meyer-Wendt handled all technical and budgetary decisions
Plaintiff had no authority over design or engineering decisions, budgetary decisions, or decisions
regarding the timing of projects Additionally, Plaintiff had no supervisory authority over any
contractors or coworkers he worked with. Iii short, Defendants relegated Plaintiff to a supporting
role comprised of non-exempt duties and responsibilities contrary to what was promised him.
Plaintiff’s position with Defendants was effectively a “demotion” from his prior position with
BMW Group, where he had significant budgetary and technical authority.

104. Defendants never invested the resources to building an in-house lab of the scale
that was promised to Plaintiff. Rather, Defendants built a small lab, which was effectively useless
for purposes of conducting technology development research

105. ln addition, Defendant informed Plaintiff after he arrived in the Bay Area that his
shares had an exercise price of $1.42, which was beyond the range of 97 cents and $1.25 as was
originally promised to him.

106. In Deceinber 2016, Mr. Bach informed Plaintiff that he was “satisfied” with his
performance, but did not increase his salary, give him additional shares, or give him a promotion.

107. Finally, Defendants failed to initiate a green card petition for Plaintiff s wife in
early January 2016 as they originally promised.

108. Plaintiff would not have accepted his position with Defendants had he known prior
to leaving Germany that the representations given to him by Defendants to persuade him to leave
his secure and successfully job with BMW Group in Gemiany to work for Defendants were false.

109. Due to Defendants’ knowingly false misrepresentations described herein, Plaintiff

is entitled to recover double damages, and the relief requested below in the Prayer for Relief.

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THIRTEENTH CAUSE OF ACTION
Intentional Misrepresentations

110. Plaintiff re-alleges and incorporates by reference the allegations contained in the
paragraphs above as if fully set forth herein.

111. ln order to persuade Plaintiffto work for Defendants management represented to
him that Defendants would, among other things; 1) initiate a green card petition for his wife in
early January 2016; 2) increase his 8200,000 salary if he performed well; 3) provide him with
additional shares if he performed well; 4) promote him if he performed well; 5) allow him to lead
the Lighting Developnient Group by giving him significant budgetary and technical authority; 6)
invest millions of dollars into building an in-house lab to give him the ability to conduct
technology development research; and 7) give him an exercise price between 97 cents and $1.25
for his shares.

112. Defendants’ representations were false. Defendants knew these representations
were false when they made them. Alternatively, Defendants made them recklessly and without
regard for their truth.

113. Defendants intended for Plaintiff to rely upon these representations to induce him
to leave his secure and successful job with BMW Group in Germany to come to the Bay Area to
work for Defendants

114. Trusting Defendants’ representations Plaintiff reasonably relied upon them and left
his secure and successful job with BMW Group in Germany to come to the Bay Area to work for
Defendants

115. Due to Plaintiffs reliance on Defendants’ representations Plaintiff was harmed.
Defendants relegated Plaintiff to a supporting role comprised of non-exempt duties and
responsibilities contrary to what was promised him. Plaintiffs position with Defendants was
effectively a “demotion” from his prior position with BMW Group, where he had significant
budgetary and technical authority. Plaintiffs reliance on Defendants’ representations was a

substantial factor in causing his harm. Plaintiff would not have accepted his position with

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COMPLAINT FOR DAMAGES ~ JURY TRIAL DEMANDED

 

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Defendants had he known prior to leaving Germany that the representations given to him by
Defendants to persuade him to leave his secure and successfully job with BMW Group in
Germany to work for Defendants were false.

116. ln committing the acts described herein, Defendants are guilty of oppression, fraud
and/or malice as they wrongfully and unlawfully induced Plaintiff to leave his secure and
successful job with BMW Group in Germany to come to the Bay Area to work for Defendants

Plaintiff therefore is entitled to punitive damages

FOURTEENTH CAUSE OF ACTION
Negligent Misrepresentations

117. Plaintiff re-alleges and incorporates by reference the allegations contained in the
paragraphs above as if fully set forth herein.

118. ln order to persuade Plaintiff to work for Defendants management represented to
him that Defendants would, among other things: 1) initiate a green card petition for his wife in
early January 2016; 2) increase his 8200,000 salary if he performed well; 3) provide him with
additional shares if he performed well; 4) promote him if he performed well; 5) allow him to lead
the Lighting Development Group by giving him significant budgetary and technical authority; 6)
invest millions of dollars into building an in-house lab to give him the ability to conduct
technology development research; and 7) give him air exercise price between 97 cents and 81.25
for his shares

119. Defendants’ representations were false. Although Defendants may have honestly
believed that the representations were true, they had no reasonable grounds for believing the
representations were true when they made them.

120. Defendants intended for Plaintiff to rely upon these representations to induce him
to leave his secure and successful job with BMW Group in Germany to come to the Bay Area to
work for Defendants

121. Trusting Defendants’ representations Plaintiff reasonably relied upon them and left

his secure and successful job with BMW Group in Germany to come to the Bay Area to work for

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Defendants

122. Due to Plaintiff' s reliance on Defendants’ representations Plaintiff was harmed.
Defendants relegated Plaintiff to a supporting role comprised of non-exempt duties and
responsibilities contrary to what was promised him. Plaintiff s position with Defendants was
effectively a “demotion” from his prior position with BMW Group, where he had significant
budgetary and technical authority. Plaintiff’ s reliance on Defendants’ representations was a
substantial factor in causing his harm. Plaintiff would not have accepted his position with
Defendants had he known prior to leaving Germany that the representations given to him by
Defendants to persuade him to leave his secure and successfully job with BMW Group in
Germany to work for Defendants were false.

123. ln committing the acts described herein, Defendants are guilty of oppr'ession, fraud
and/or malice as they wrongfully and unlawfully induced Plaintiff to leave his secure and
successful job with BMW Group in Germany to come to the Bay Area to work for Defendants
Plaintiff therefore is entitled to punitive damages

PRAYER FOR RELIEF

Plaintiff respectfully prays for relief as follows:

1. A declaration that Plaintiff was a non-exempt employee of Defendants at all

relevant times;

2. An award of damages restitution, statutory penalties civil penalties and punitive

damages to be paid by Defendants for the causes of action alleged herein;

3. Double damages pursuant to Califomia Labor Code § 972;

4. An award of costs and expenses including reasonable attorneys’ fees and expert

fees pursuant to Califomia Labor Code §§ 226, 1194, and 2699(g)(1), or as

otherwise permitted by law;

5. An award of pre-judgment and post-judgment interest, as provided by law; and
6. All such other relief the Court deems just, necessary, and proper.
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DATED: June 1, 2017 SGHN LEGAL GRGUP, P.C.

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David D. Sohn

Attomeys for Plaintiff
MARCEL SIELER

DEMAND FOR JURY TRIAL

Plaintiff hereby respectfully demands a trial by jury.

DATED: June 1, 2017 SGHN LEGAL GRGUP, P.C.

Byr /lM '/f/ f/£'\

David '1). sohn

Attomeys for Plaintiff
MARCEL SIELER

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